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15                        UNITED STATES DISTRICT COURT
16                     NORTHERN DISTRICT OF CALIFORNIA
17                                        Case No.: 3:17-cv-01258-LB
     LT. JOSEPH J. GALASKA,
18   GEORGE W. WOOLLEY,                   CLASS ACTION
19   TAMMY S. WOOLLEY,
     MICHAEL G. PEKEL,
20                                        1. VIOLATION OF THE “UNFAIR”
     ANTHONY LOOK, JR.,                      PRONG OF CAL. BUS. & PROF.
21   KIMBERLY LOOK, GRACHIAN                 CODE § 17200, et seq. AGAINST
     L. SMITH, MARY JANE SMITH,              YGRENE ENERGY FUND, INC.;
22                                        2. VIOLATION OF THE
     ALEJANDRO MARCEY, and                   “FRAUDULENT” PRONG OF CAL.
23   FELICIA MARCEY, individually            BUS. & PROF. CODE § 17200, et seq.
     and on behalf of all others             AGAINST YGRENE ENERGY FUND,
24                                           INC.;
     similarly situated,                  3. VIOLATION OF THE CONSUMER
25                                           LEGAL REMEDIES ACT;
                         Plaintiffs,      4. VIOLATION OF THE FLORIDA
26                                           DECEPTIVE AND UNFAIR TRADE
                                             PRACTICES ACT;
27         v.                             5. TORTIOUS INTERFERENCE WITH
                                             CONTRACT;
28                                        6. FRAUDULENT INDUCEMENT;

                                             1
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 1   YGRENE ENERGY FUND, INC.; 7. NEGLIGENT
                                       MISREPRESENTATION;
     YGRENE ENERGY FUND             8. UNJUST ENRICHMENT; and
 2   FLORIDA, LLC; and DOES 1       9. NEGLIGENCE.
 3   through 10, inclusive,
                                    DEMAND FOR JURY TRIAL
 4                      Defendants.
 5
 6
 7                     AMENDED COMPLAINT FOR DAMAGES
 8         Plaintiffs, Lt. Joseph J. Galaska, George W. Woolley, Tammy S. Woolley,
 9   Michael G. Pekel, Anthony Look, Jr., Kimberly Look, Grachian L. Smith, Mary
10   Jane Smith, Alejandro Marcey, and Felicia Marcey, individually and on behalf of
11   all others similarly situated, hereby sue Ygrene Energy Fund, Inc. and Ygrene
12   Energy Fund Florida, LLC (“Ygrene” or “Defendants”), and state and allege as
13   follows on information and belief:
14                                      THE PARTIES
15         1.      Plaintiff, Lt. Joseph J. Galaska, is a resident of Broward County,
16   Florida.
17         2.      Plaintiff, George W. Woolley, is a resident of Broward County,
18   Florida.
19         3.      Plaintiff, Tammy S. Woolley, is a resident of Broward County,
20   Florida.
21         4.      Plaintiff, Michael G. Pekel, is a resident of Miami-Dade County,
22   Florida.
23         5.      Plaintiff, Anthony Look, Jr., is a resident of Sacramento County,
24   California.
25         6.      Plaintiff, Kimberly Look, is a resident of Sacramento County,
26   California.
27         7.      Plaintiff, Grachian L. Smith, is a resident of Broward County, Florida.
28         8.      Plaintiff, Mary Jane Smith, is a resident of Broward County, Florida.
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 1         9.      Plaintiff, Alejandro Marcey, is a resident of San Diego County,
 2   California.
 3         10.     Plaintiff, Felicia Marcey, is a resident of San Diego County,
 4   California.
 5         11.     Defendant, Ygrene Energy Fund, Inc., is a Delaware corporation with
 6   headquarters located in Sonoma County, California.
 7         12.     Defendant, Ygrene Energy Fund Florida, LLC, is a Florida limited
 8   liability company with headquarters in Tampa, Florida.
 9         13.     The true names and capacities of Defendants DOES 1 through 10 are
10   unknown to Plaintiffs, and Plaintiffs will seek leave of court to amend this
11   complaint to allege such names and capacities as soon as they are ascertained.
12   Each of the Defendants herein was the agent, joint venturer, or employee of each
13   of the remaining Defendants, and in doing the things hereinafter alleged, each was
14   acting in the course and scope of said agency, employment or joint venture with
15   advance knowledge of, acquiescence in or subsequent ratification of the acts of
16   each and every other remaining defendant. Each of Defendants 1 through 10 is
17   responsible, legally, negligently or in some other actionable manner, for the events
18   and happenings hereinafter referred to, and caused injuries and damages
19   proximately thereby to Plaintiffs and the Class as hereinafter alleged, either
20   through co-defendants’ conduct or through the authorized and/or ratified conduct
21   of its agents, servants or employees or in some other manner.
22         14.     Ygrene and DOES 1 through 10 are collectively referred to herein as
23   “Defendants.”
24                             JURISDICTION AND VENUE
25         15.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiffs
26   allege a national class, which will result in at least one class member belonging to a
27   different state than that of Defendants. Plaintiffs seek damages which, when
28   aggregated among a proposed class numbering in the tens of thousands, or more,
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 1   exceeds the $5,000,000.00 (five-million dollars) threshold for federal court
 2   jurisdiction under the Class Action Fairness Act (“CAFA”). Therefore, both the
 3   elements of diversity jurisdiction and CAFA jurisdiction are present.
 4         16.    Venue is proper in this Court pursuant to California Code of Civil
 5   Procedure section 393 because some portion of the causes of action arose in this
 6   County and pursuant to Civil Local Rule 3-2(c) because a substantial part of the
 7   events or omissions giving rise to the claims herein alleged occurred in Sonoma
 8   County, California. Defendants further provide and market their products and
 9   services within this district, thereby establishing sufficient contact to subject them
10   to personal jurisdiction.
11         17.    At all relevant times, Ygrene Energy Fund, Inc. and Ygrene Energy
12   Fund Florida, LLC were directly engaged in the business of marketing and
13   facilitating PACE loans that are the subject of this Complaint throughout the United
14   States and the State of California.
15         18.    This Court has personal jurisdiction over Defendants. Facts giving rise
16   to this action occurred in the State of California. Defendants have been afforded due
17   process because they have, at all times relevant to this matter, individually or
18   through their agents, subsidiaries, officers and/or representatives, operated,
19   conducted, engaged in and carried on a business venture in this State, and/or
20   maintained an office or agency in this State, and/or provided services, committed a
21   statutory violation within this State related to the allegations made herein, and
22   caused injuries to Plaintiffs and Class Members, which arose out of the acts and
23   omissions that occurred in the State of California, during the relevant time period, at
24   which time Defendants were engaged in business activities in the State of
25   California, resulting in injuries to Plaintiffs and Class Members.
26                                NATURE OF THE ACTION
27         19.    This lawsuit seeks to protect consumers from (a) Ygrene’s deceptive
28   sales practices, in which it enlists ill-trained and self-interested home improvement
                                              4
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 1   contractors to sell its Property Assessed Clean Energy (“PACE”) loans to
 2   homeowners, luring consumers into a major financial obligation without proper
 3   disclosures befitting such a momentous commitment; and (b) Ygrene’s
 4   misrepresentations, non-disclosures, omissions, and fraudulent concealment of
 5   material information relating to its PACE loans, including those regarding the
 6   likelihood of prepayment and inability to transfer PACE loans, prepayment
 7   penalties, fees assessed by Ygrene to avoid such prepayment penalties, and
 8   Ygrene’s unreasonable administrative fees.
 9         20.    PACE loans are a financing structure by which residential property
10   owners are permitted to opt into a special assessment district to receive financing
11   for energy improvements and retrofits on their homes. The loans are repaid through
12   an annual assessment on the owner’s property tax bill. A lien in the amount of the
13   loan is placed on the home. Ygrene aggressively markets PACE loans through
14   various print, Internet, and radio materials, as well as a network of 3,200 home
15   improvement contractors. It provides little and/or inaccurate training to these
16   individuals before they are set loose on unsuspecting consumers.
17         21.    The training materials Ygrene provides to its improvement contractors
18   contain misleading and incorrect statements about Ygrene’s PACE loans that are
19   then passed on to consumers. Such statement include, but are not limited to, the
20   following:
21                Ways that Ygrene’s program is superior to other
                  PACE providers. HERO and CalFirst work under an
22                Assessment model […] This creates problems for some
23                homeowners when they sell or refinance their homes.
                  Some buyers/lenders are asking that the Assessment be
24                paid off, rather than transferring to the new owner…
25
                  Ygrene’s program does NOT use Assessment –
26                Ygrene’s model uses Mello-Roos special taxes. […]
27                Over $20B in Mello-Roos special taxes have been placed
                  on over 1.3M homes over the last 20 years without any
28                problems. None have required payoff at time of sale or
                                           5
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 1                      refinance. […] Ygrene’s pre-payment rate is only 1.2% -
                        Evidence that Ygrene customers are having a positive
 2                      experience.
 3              22.     Once these contractors receive their Ygrene “certification,” the
 4   directive from Ygrene is clear: “BOOST YOUR BOTTOM LINE.” 1
 5              23.     And this is precisely what this rag-tag group of de facto loan agents set
 6   out to do, by routinely misrepresenting the true nature of the PACE loans they sell
 7   to consumers so they can maximize their own profits.
 8              24.     Through this sales force, its employees and agents, its marketing, and
 9   written disclosures, Ygrene deceives consumers into believing the PACE loan is a
10   risk-free, no-strings-attached program, backed by government support that allows
11   immediate energy efficiency improvements to a home in exchange for nothing more
12   than increased property tax assessments. In reality, the loans are burdensome
13   encumbrances on consumers’ homes.
14              25.     As part of its sales efforts, Ygrene markets its PACE loans as the
15   “smart alternative to traditional credit-based financing,”2 or in other words, as an
16   alternative to a Home Equity Line of Credit (“HELOC”). According to Ygrene, its
17   PACE loans are a “smart alternative” to traditional loan products because their
18   loans are actually tax assessments that transfer with the property to the next owner
19   of the home—meaning a property owner can leave the loan behind when he/she
20   sells the home, or refinance the home without disturbing the PACE loan.
21   Necessarily, then, these representations indicate to reasonable consumers that
22   prepayment penalties are not charged at the time of sale or refinance—because the
23   PACE loan remains undisturbed.
24              26.     Ygrene is at pains to distinguish its PACE loans from credit vehicles
25   assigned to a specific borrower. In fact, in marketing materials, Ygrene goes so far
26   1
      https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=2&ved=0ahUKEwjk8OvH1aPSAhXL8CY
     KHR0jDTkQFgg0MAE&url=https%3A%2F%2Fygreneworks.com%2Fwp-content%2Fuploads%2F40004-CA-8-
27   15_prf51.pdf&usg=AFQjCNG6WiO-ZMmBy88YrSihwC_TS3E9KQ; (last accessed on February 22, 2017).

28   2
         https://ygreneworks.com/homeowners/; (last accessed on February 15, 2017).

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 1   as to say: “It’s as if your house is borrowing the money.” Again, in such a
 2   circumstance, no prepayment penalty would ensue.
 3           27.      Contrary to Ygrene’s misrepresentations, however, the PACE loans it
 4   markets to consumers do not travel with the home—in fact, they make it impossible
 5   or nearly impossible for consumers to sell their homes without first paying off the
 6   loan and incurring a large prepayment penalty. This is because conventional lenders
 7   refuse to provide loans on properties encumbered by Ygrene’s PACE loans, which
 8   benefit from superpriority status.
 9           28.      In other words, Ygrene’s PACE loans are not an encumbrance that run
10   with the property; they are an encumbrance that acts exactly like a HELOC.
11           29.      The misperception that PACE loans run with the property has been
12   actively fostered by Ygrene, and it is widespread. For example, a recent article in
13   the Huffington Post titled Will PACE Loans Cause the Next Housing Crisis?,
14   incorrectly stated: “Because the loan is attached to the property, the loan obligations
15   (and any liens) are transferred to any future buyer.” 3
16           30.      In fact, Ygrene’s PACE “loan obligations” are not transferred to future
17   buyers. Indeed, rules issued by the federal government make clear this may not
18   occur. At all times relevant, Ygrene was fully aware that the Federal Housing
19   Finance Agency (“FHFA”), on at least three occasions since 2010, “has made clear
20   that…Fannie Mae and Freddie Mac should neither purchase nor refinance
21   mortgages with PACE loans attached.”4
22           31.      The FHFA’s directive to Fannie Mae and Freddie Mac is crucial
23   because conventional lenders and the housing market act in concert with the
24   FHFA’s PACE financing prohibitions since virtually all lenders rely on Fannie Mae
25   and Freddie Mac to purchase the loans that they make to borrowers. This means that
26
     3
       http://www.huffingtonpost.com/entry/will-pace-loans-cause-the-next-housing
27   crisis_us_589db386e4b0e172783a9ae9; (February 12, 2017).

28   4
      http://www.fhfa.gov/Media/PublicAffairs/Pages/Pollard-Statement-before-California-Legislature-Keeping-Up-
     with-PACE.aspx; (last accessed on January 30, 2017).
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 1   individuals looking to purchase a home encumbered by a PACE lien will effectively
 2   not be able to secure conventional financing for the purchase unless the
 3   homeowners first pay off the PACE loan in its entirety—and pay a massive
 4   prepayment penalty to Ygrene, as well as various unreasonable administrative fees.
 5         32.    Indeed, satisfaction of Ygrene’s PACE loans is certain at the time of
 6   sale or refinance because no conventional lender will agree to a loan on a property
 7   encumbered by a superpriority lien.
 8         33.    Against this backdrop of deceptive marketing, Ygrene also issues
 9   deceptive, misleading, and incomplete written disclosures. As discussed herein,
10   those disclosures mislead consumers regarding: (1) the necessity of paying off
11   PACE loans at sale or refinancing; (2) the necessity of paying large prepayment
12   penalties at sale or refinancing; and (3) unreasonable “administrative fees” and
13   “payoff statement fees” associated with sale or refinancing. In other words, Ygrene
14   not only misrepresents the certainty of a pay-off in both its representations and
15   disclosures, but it also misrepresents the huge financial impact of being forced to
16   pay off a PACE loan early.
17         34.    In recent years, Ygrene has surreptitiously added a fee to the closing
18   costs of certain consumers styled a “Pre-Payment Waiver Fee.” It provides no
19   explanation in the body of loan documents what the “fee” is attributable to, or what
20   it covers. Upon information and belief, the fee is a belated, halfhearted attempt by
21   Ygrene to acknowledge what FHFA has made clear all along: full satisfaction of the
22   loan is required at sale or refinance, and a prepayment penalty will certainly be
23   charged at that time. Rather than remove the prepayment penalty, which its loan
24   documents and marketing materials continue to represent as a near-impossibility,
25   Ygrene has added this new fee to allow homeowners to avoid paying a prepayment
26   penalty that Ygrene’s marketing representations and loan documents indicated
27   would never be charged in the first place. In other words, the fee allows Ygrene to
28   profit further from its own misrepresentations.
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 1              35.     Consumers like Plaintiffs would not have obtained PACE loans had
 2   they known the loans would require a prepayment penalty and full satisfaction of
 3   the loan at the time of sale or refinance. Moreover, reasonable consumers would not
 4   have knowingly agreed to enter into the loans with a Pre-Payment Waiver Fee,
 5   when marketing materials and sales practices indicated to them that a prepayment
 6   was impossible or unlikely to occur.
 7              36.     Since the filing of this lawsuit, Senators Tom Cotton (R-Arkansas),
 8   Marco Rubio (R-Florida), and John Boozman (R-Arkansas) have introduced the
 9   Protect Americans from Credit Exploitation Act (PACE Act). The Act “requires
10   disclosure for Property Assessed Clean Energy (PACE) loans that target low-
11   income and elderly Americans with predatory home loans.” 5
12              37.     As Senator Cotton observed:
13                      Residential PACE loans are a scam. Predatory green-
                        energy lenders are changing state and local laws to trick
14                      seniors into taking out high-interest rate loans for 20 years,
15                      along with liens on their homes, for technology that could
                        be obsolete in a few years. Today, these loans are exempt
16                      from the same disclosure forms required for other home
17                      loans. Our bill will fix this. Requiring disclosure will
                        reduce the advantage that PACE loan sharks have over
18                      hard-working Americans. It’s just the accountability we
19                      need.

20              38.     This action is based upon a common nucleus of operative facts. All of
21   Ygrene’s unfair, deceptive and wrongful conduct in this case arise directly from the
22   material omissions and deceptive representations made directly by Ygrene and its
23   agents to Plaintiffs and members of the class, as well as documents prepared and
24   provided by Ygrene to Plaintiffs and members of the class.
25              39.     As a result of Ygrene’s intentional misconduct, Plaintiffs and members
26   of the class ask this Court to award injunctive relief, damages, including damages
27   which flow naturally from the requested injunctive relief, and attorney’s fees
28
     5
         https://www.cotton.senate.gov/?p=press_release&id=653; (last accessed on May 10, 2017).
                                                             9
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 1   against Ygrene.
 2                         GENERAL FACTUAL ALLEGATIONS
 3                                       PACE Loans
 4         40.     PACE loans are a financing structure by which residential property
 5   owners are permitted to opt into a special assessment district to receive financing
 6   for energy improvements and retrofits on their homes. The loans are repaid through
 7   an annual assessment on the property owner's property tax bill.
 8         41.     PACE loans range in size from $5,000 to more than $100,000, with an
 9   average of approximately $25,000, and charge interest rates of 7% to 10% over a
10   repayment period of five to 25 years.
11         42.     Municipal revenue bonds secured by liens on participating properties
12   are the primary financing instrument for PACE programs. PACE bonds can be
13   issued either through a private placement or public issuance. The proceeds from the
14   bonds provide funding for home improvement projects that meet program terms and
15   conditions.
16         43.     PACE loans first originated in California in 2008 with great
17   momentum, but slowed in 2010 due to concerns raised by the FHFA, Fannie Mae,
18   and Freddie Mac regarding the seniority of the PACE lien over mortgages.
19         44.     In Florida, legal challenges to several PACE bond validation
20   proceedings initially slowed the implementation of PACE lending. However, in a
21   recent opinion, the Florida Supreme Court affirmed a circuit court’s final judgment
22   validating a special assessment revenue bond to fund PACE loans. See Florida
23   Bankers Ass’n v. Florida Development Finance Corp., 176 So.3d 1258, 1260 (Fla.
24   2015).
25         45.     To date, almost $3.4 billion worth of PACE loans have been issued
26   around the country.
27         46.     PACE loans are marketed with deceptive, incomplete information, and
28   are often pitched by construction and remodeling companies with no expertise in
                                           10
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 1   consumer finance issues and who Ygrene provides the same deceptive and
 2   incomplete information to pass along to the consumer.
 3              47.      In a recent article titled America’s Fastest-Growing Loan Category has
 4   Eerie Echoes of Subprime Crisis, the Wall Street Journal described just a portion of
 5   the problem as follows:
 6                       As the loans spread, so do problems that echo the subprime
                         mortgage crisis. Plumbers and repairmen essentially
 7
                         function as loan brokers but have scant training and
 8                       oversight. They often pitch PACE loans to help land
                         contracting jobs and earn referral fees from
 9
                         lenders….Creditworthiness matters little to lenders,
10                       because loans are based on the value of a homeowner’s
                         property. PACE loans typically require no down payment,
11
                         and the debt is added to property-tax bills as an
12                       assessment. 6
13              48.      Typically, private companies such as Ygrene serve as program
14   administrators and intermediaries between the special districts and borrowers. A
15   company such as Ygrene will market to homeowners, prepare loan applications and
16   documents, conduct the “closing” on loans, and facilitate the funding of individual
17   homeowner projects.
18              49.      Companies like Ygrene market PACE loans to borrowers as a better
19   alternative to private loans such as home equity lines of credit. In reality, however,
20   as Professor Prentiss Cox 7 notes, PACE loans are nothing more than mortgage
21   loans with a different name:
22                       PACE financing has all the characteristics of a mortgage
                         loan other than the mechanism of billing and payment
23                       through property tax. Unlike a public works tax
24                       assessment, PACE financing is voluntarily assumed by the
                         homeowner and provides cash to the homeowner for
25                       improvements that ultimately will be owned by the
26
     6
       https://www.yahoo.com/news/america-fastest-growing-loan-category-063033906.html; (last accessed on January
27   30, 2017).

28   7
         Prentiss Cox is a professor at the University of Minnesota Law School.

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 1                   homeowner. From the lender’s perspective, PACE
                     financing constitutes another lien on the property for
 2                   purposes of evaluating the value of the home as security in
 3                   case of default by the homeowner on the mortgage loan.8

 4                      The FHFA’s Rules Regarding PACE Loans

 5           50.     The FHFA is the federal regulator and conservator of the secondary
 6   mortgage market Government Sponsored Enterprises, Fannie Mae and Freddie Mac
 7   (GSEs).
 8           51.     GSEs purchase mortgages from loan originators and use them to issue
 9   mortgage backed securities. Combined, the GSEs hold more than $5 trillion worth
10   of mortgages; over half of the Nation’s single-family mortgage debt.
11           52.     Because of their market dominance, the GSEs’ lending policies carry
12   significant weight and are closely followed by mortgage loan originators. This is
13   because originators rely on the GSEs to purchase the loans that the originators have
14   made to borrowers.
15           53.     Consequently, the “housing market has acted in concert with the
16   Federal Housing Finance Agency’s PACE financing prohibitions for Fannie Mae
17   and Freddie Mac.” 9
18           54.     On July 6, 2010, FHFA issued its first statement and position on PACE
19   loans. The FHFA expressed grave concerns about PACE loans, stating that such
20   loans
                     … present significant safety and soundness concerns that
21
                     must be addressed by Fannie Mae, Freddie Mac and the
22                   Federal Home Loan Banks… First liens established by
                     PACE loans are unlike routine tax assessments and pose
23
                     unusual and difficult risk management challenges for
24                   lenders, servicers and mortgage securities investors. The
                     size and duration of PACE loans exceed typical local tax
25
26   8
      Prentiss Cox, Keeping Pace?: The Case Against Property Assessed Clean Energy Financing Programs, 83 Col. L.
     REV. 106 (2011).
27
     9
      http://mba.informz.net/MBA/data/images/MBA Summary of FHA PACE Bulletin Final.pdf; (last accessed on
28   January 31, 2017).

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 1                   programs and do not have the traditional community
                     benefits associated with taxing initiatives.
 2
 3                      *                                *                                 *

 4                   FHFA urged state and local governments to reconsider
 5                   these programs and continues to call for a pause in such
                     programs so concerns can be addressed. First liens for
 6                   such loans represent a key alteration of traditional
 7                   mortgage lending practice. They present significant risk to
                     lenders and secondary market entities, may alter
 8                   valuations for mortgage-backed securities and are not
 9                   essential for successful programs to spur energy
                     conservation. 10
10
11            55.    On August 31, 2010, Freddie Mac and Fannie Mae each issued letters
12   to lenders stating that the Enterprises would cease purchasing mortgage loans
13   secured by a property with an outstanding PACE loan, originating on or after July
14   6, 2010, with first-lien priority. Additionally, the GSEs stated that in order to
15   refinance a PACE-encumbered property, owners must pay off the entire outstanding
16   PACE loan.
17            56.    On February 28, 2011, the FHFA sent a letter to the GSEs’ general
18   counsels invoking its statutory authority as conservator under 12 U.S.C. § 4617, as
19   well as its duty to preserve and conserve the GSEs’ assets, and directed the GSEs to
20   “continue to refrain from purchasing mortgage loans secured by properties with
21   outstanding first-lien PACE obligations and carefully monitor through their seller-
22   servicers any programs that create such first-lien obligations.”
23            57.    On March 19, 2013, the Ninth Circuit Court of Appeals vacated a
24   district court order and dismissed a lawsuit brought by several California counties
25   and cities which sought to challenge the FHFA’s directive to the GSEs, holding that
26   “FHFA’s decision to cease purchasing mortgages on PACE-encumbered properties
27
     10
       http://www.fhfa.gov/Media/PublicAffairs/Pages/FHFA-Statement-on-Certain-Energy-Retrofit-Loan-
28   Programs.aspx; (last accessed on January 30, 2017).

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 1   is a lawful exercise of its statutory authority as conservator of the Enterprises.”
 2   County of Sonoma v. Federal Housing Finance Agency, 710 F.3d 987, 988 (9th Cir.
 3   2013).
 4            58.    On December 22, 2014, the FHFA issued a second statement regarding
 5   PACE loans:
 6              In issuing this statement, FHFA wants to make clear to
                homeowners, lenders, other financial institutions, state
 7              officials, and the public that Fannie Mae and Freddie
 8              Mac’s policies prohibit the purchase of a mortgage where
                the property has a first-lien PACE loan attached to it. This
 9              restriction has two potential implications for
10              borrowers. First, a homeowner with a first-lien PACE loan
                cannot refinance their existing mortgage with a Fannie
11              Mae or Freddie Mac mortgage. Second, anyone wanting
12              to buy a home that already has a first-lien PACE loan
                cannot use a Fannie Mae or Freddie Mac loan for the
13              purchase. These restrictions may reduce the marketability
14              of the house or require the homeowner to pay off the
                PACE loan before selling the house.11
15
16            59.    On June 9, 2016, Alfred M. Pollard, General Counsel for the FHFA,
17   once again reiterated the FHFA’s directive that “Fannie Mae and Freddie Mac
18   should neither purchase nor refinance mortgages with PACE loans attached.” Mr.
19   Pollard further stated:
                  [A] PACE lien often represents a retroactive creation of
20                liability on a property ahead of the existing first-lien
21                mortgage, which the mortgage holder neither knows about
                  nor consents to. The creation of a super-lien thus transfers
22
                  the risk of loss to the first-lien mortgage holder after the
23                lender has already underwritten and entered into a
                  financing arrangement that facilitates the purchase or
24
                  refinancing of a home. The lender has no knowledge and
25                no say in the subsequent additional risk and the potential
                  decline in the value of their collateral by the layering of
26
27
     11
       http://www.fhfa.gov/Media/PublicAffairs/Pages/Statement-of-the-Federal-Housing-Finance-Agency-on-Certain-
28   Super-Priority-Liens.aspx; (last accessed on January 30, 2017).

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 1                    debt.12

 2            60.     Upon information and belief, at all times relevant, Ygrene had
 3   knowledge of the above statements and the FHFA’s rules that directly impact
 4   Ygrene borrowers’ ability to sell their homes.
 5            61.     As a result of FHFA’s position regarding Ygrene’s PACE loans,
 6   Ygrene was on notice that Ygrene’s consumers are certain to be forced to satisfy
 7   their PACE loans before being able to sell their homes.
 8                                        PACE Loans in California
 9            62.     As a result of the FHFA’s position, PACE loan borrowers have been
10   unable to sell their homes without first satisfying their PACE loans.
11            63.     In 2008, California passed the first legislation in the country permitting
12   PACE lending. Since that time, over 70,000 homeowners have borrowed money
13   through companies such as Ygrene.
14            64.     After years of PACE lending in California, homeowners who are now
15   attempting to sell their homes are experiencing first-hand the realities of PACE
16   loans issued by companies such as Ygrene.
17            65.     On October 19, 2015, a Reuters article titled Green Financing has
18   Hobbled Home Sales in California reported that “a growing number
19   of homeowners, lenders and realtors in California suggest the financing is making
20   homes more difficult to sell and disrupting the mortgage market.” 13 The article went
21   on to discuss the realities faced by homeowners and how they were ultimately
22   forced to prepay their PACE loans before they could sell their homes.
23            66.     On November 6, 2015, The Wall Street Journal published an article
24   titled Clean-Energy Loans Make for Messy Home Sales, which discussed the lack of
25   disclosures and difficulties faced by PACE loan borrowers attempting to refinance
26
27   12
        http://www.fhfa.gov/Media/PublicAffairs/Pages/Pollard-Statement-before-California-Legislature-Keeping-Up-
     with-PACE.aspx; (last accessed on January 30, 2017).
28   13
        http://mobile.reuters.com/article/idUSKCN0SD0DP20151019; (last accessed on July 20, 2016).

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 1   or sell their homes. 14
 2              67.     On April 25, 2016, U.S. Congressman Brad Sherman wrote a letter to
 3   the Director of the Consumer Financial Protection Bureau, requesting that the
 4   CFPB commence “a proper investigation and examination of potential consumer
 5   abuses associated with PACE loans.” In his letter, Congressman Sherman noted the
 6   various pitfalls consumers have experienced in California, including the fact that
 7   “the Federal Housing Finance Agency does not accept purchases of loans with
 8   priority lien status attached to it, limiting the consumer’s ability to receive
 9   refinancing or eventually sell the property unless the PACE loan is paid off in its
10   entirety.” 15
11              68.     On June 25, 2016, the Daily Democrat published a story by California
12   Assembly Member Matt Dababneh titled Cost of Going Green Must not be Hidden
13   From Homeowner, which described the consequences of the unregulated PACE
14   lending market in California:
15               There is no requirement for basic disclosures, and
                 homeowners are often led to believe PACE is a subsidized
16               government program that carries no risk if they need to sell
17               or refinance their homes…The prospect of going green,
                 coupled with a misleading sales pitch, is leading
18               homeowners, many of them seniors, to get scammed and
19               become victims of predatory lending because they have no
                 idea what financial product they are really buying.
20               Homeowners are also often unaware that a PACE loan
21               adds a lien to their property, which means they might not
                 be able to sell or refinance their homes if the PACE loans
22               aren’t paid off. 16
23              69.     Most recently, on July 19, 2016, Pete Mills, Senior Vice President of
24
     14
       http://www.wsj.com/articles/clean-energy-loans-make-for-messy-home-sales-1446853426; (last accessed on July
25   20, 2016).
26   15
       http://www.cuna.org/Legislative-And-Regulatory-Advocacy/Removing-Barriers-Blog/Removing-Barriers-
     Blog/Rep--Sherman-Requests-CFPB-Review-of-Property-Tax-Assessed-Clean-Energy-(PACE)-programs/; (last
27   accessed on July 20, 2016).

28   16
          http://www.dailydemocrat.com/article/NI/20160625/LOCAL1/160629921; (last accessed on July 20, 2016).

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 1   Residential Policy and Member Engagement for the Mortgage Bankers Association,
 2   issued the following statement regarding the MBA’s position on PACE loans:
 3                       MBA and its members believe that energy efficient home
                         improvements provide homeowners with a wide variety of
 4
                         benefits, and want to help homeowners safely and
 5                       sustainably       finance        these        kinds   of
                         improvements. However, we are concerned that this
 6
                         program, as designed, would leave low and moderate
 7                       income FHA borrowers more vulnerable to being misled
                         and steered into financial obligations that they may not
 8
                         fully understand due to lack of disclosure. 17
 9
10              70.      The consequences that borrowers in California have faced in being
11   unable to sell their homes were, at all times relevant, known to Ygrene.
12   Notwithstanding the damages Ygrene has caused to thousands of consumers in
13   California, Ygrene continues to engage in these deceptive practices.
14                                             PACE Loans in Florida
15              71.      On April 30, 2010, the Florida Legislature passed Florida Statute
16   section 163.08 (the “Act”) which (1) authorizes local governments to levy non-ad
17   valorem assessments to fund qualifying energy conservation and efficiency,
18   renewable energy and wind resistance improvements to real property; (2) authorizes
19   property owners to apply for funding and voluntarily enter into financing
20   agreements with local governments to finance a qualifying improvement; and (3)
21   authorizes local governments to collect moneys, with specific collection
22   requirements, for such purposes through non-ad valorem assessments.
23              72.      Under the Act, local governments are permitted to incur debt and
24   partner with other local governments to provide financing to property owners for
25   qualifying improvements.
26              73.      In order to qualify for a PACE loan in Florida, a property owner must
27   be current on his or her property taxes, as well as his or her mortgage payments,
28
     17
          https://www.mba.org/2016-press-releases/july/mba-statement-on-pace-program; (last accessed on July 20, 2016).
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 1   cannot have involuntary liens on the property, and cannot have recorded property-
 2   based debt delinquency. § 163.08(9), Fla. Stat.
 3         74.    PACE loans give no consideration to the existing loan-to-ratio value. §
 4   168.08(12)(a), Fla. Stat. A property owner may borrow up to 20% of the just
 5   valuation of his or her property without any statutory regard for whether the
 6   property owner has equivalent equity in the property. § 163.08(12)(a), Fla. Stat.
 7         75.    Furthermore, the purchase money mortgagee cannot protect against
 8   diminution in its collateral value by accelerating its loan because the Act prohibits
 9   such acceleration if the acceleration is done solely as a result of the property owner
10   obtaining a PACE loan. § 163.08(13), Fla. Stat.
11         76.    There is no Florida PACE administrator because there is no state
12   program. All of the PACE programs within Florida are formed “by local
13   governments to operate for local governments” and operate pursuant to F.S.
14   §163.01 interlocal agreements, with the exception of St. Lucie and Leon counties,
15   which operate within their own counties.
16         77.    All PACE programs in Florida are operated by a third-party
17   administrator such as Ygrene. There are presently five (5) PACE programs
18   operating in Florida. Ygrene serves as the administrator for two (2) of the programs
19   and has facilitated funding for 90% of all PACE projects in Florida.
20         78.    The largest program administered by Ygrene is The Green Corridor
21   District, which consists of 20 local governments in Miami-Dade and Broward
22   Counties. The Green Corridor District includes both residential and commercial
23   properties. The Green Corridor District has authorized $500,000,000.00 of revenue
24   bonds to fund the program. Since its inception, the program has financed
25   approximately $129 million in qualifying improvements. The majority of these
26   improvements have been to residential property with an average residential project
27   size of $22,000.00.
28
                                           18
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 1                                   Ygrene’s Business Model
 2         79.       Ygrene is the nation’s leading, multi-state provider of residential and
 3   commercial property assessed clean energy financing. Nationwide, Ygrene has
 4   approved more than $1 billion in applications and has completed over $394 million
 5   in contracts.
 6         80.       Ygrene’s PACE loans are no different than private loans except that
 7   the terms are less favorable when compared to conventional loans, and instead of a
 8   monthly billing statement, borrowers receive an annual tax assessment.
 9         81.       Ygrene acts as a lender by using private capital to provide financing to
10   property owners in the PACE districts it administers. Ygrene’s capital sources and
11   structure include a $100 million revolving line of credit for the initial funding of
12   PACE loans.
13         82.       Funding for a specific project is accomplished by the special PACE
14   district’s (e.g. The Green Corridor) issuing revenue bonds secured by special tax
15   liens. The revenue bond is used as the financial instrument to allow the flow of
16   private capital from Ygrene to home improvement projects. As part of the
17   agreement between the district and Ygrene, the district sells and assigns all of its
18   rights to receive the special tax revenues to Ygrene.
19         83.       More specifically, the district issues a revenue bond to fund the PACE
20   program. The bond is privately placed with Ygrene and issued as a single
21   drawdown bond. Ygrene funds the purchase price of the bond by making advances.
22   Each advance is considered a “sub-series bond” of the drawdown bond.
23         84.       The drawdown bond is in the form of a revolving line of credit,
24   allowing for the repayments of amounts drawn and the re-borrowing of such repaid
25   amounts. Each advance is secured by a Financing Agreement and a senior priority
26   assessment lien on the property.
27         85.       Each individual property owner within the district desiring to finance
28   an energy improvement enters into a Financing Agreement with the district under
                                             19
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 1   which the property owner agrees to the district’s imposition of a non-ad valorem
 2   assessment on the property.
 3         86.    Each sub-series bond is secured solely by its own collateral, consisting
 4   of the Financing Agreement (evidencing the assessment lien) and a revenue
 5   account.
 6         87.    When it holds a sufficient amount of sub-series bonds, Ygrene
 7   securitizes the bonds and sells them to private investors. In other words, the loans
 8   made to property owners are bundled and sold to investors with a transfer of rights
 9   to the PACE loan revenue stream as a security.
10         88.    On July 23, 2015, Ygrene announced the completion of a $150 million
11   private securitization transaction. The transaction combined both residential and
12   commercial asset revenue streams, combined projects in all of the states where
13   Ygrene operates, and included both special taxes and assessments in a single
14   securitization.
15         89.    On November 15, 2016, Ygrene announced the completion of another
16   bond in the amount of $184 million.
17         90.    Most recently, on April 24, 2017, Ygrene announced the completion of
18   another bond in the amount of $176 million.
19         91.    In order to maximize profits for itself and its investors, Ygrene offers
20   loan terms that are much less favorable than conventional loan products overall.
21         92.    Ygrene offers its borrowers repayment terms of 5, 10, or 20 years. In
22   the event of prepayment, Ygrene charges borrowers a fee of 3% to 5% of the
23   remaining balance of the loan.
24         93.    The prepayment penalty that Ygrene charges consumers is for its own
25   benefit and to make its bonds more attractive to investors, who prefer loans with
26   pre-payment penalties because these penalties reduce the speed at which loans are
27   repaid, allowing the investors to earn the full potential of their investment.
28
                                           20
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 1              94.      On average, Ygrene charges $4,000.00 18 in various fees, including an
 2   application fee; processing and underwriting fee; miscellaneous county costs;
 3   record and disbursement fees; escrow and title insurance; a closing fee; capitalized
 4   interest, and, in some instances, a pre-payment waiver fee.
 5              95.      Ygrene also charges borrowers excessive interest rates of 7% to 12%,
 6   which is considerably higher than a standard equity line of credit, which have
 7   averaged between 4% and 5% over the past five (5) years. As recently observed by
 8   the Director of the FHFA during a Congressional oversight hearing on PACE loans:
 9   “There is no rational reason, if you think about it, why a superior tax lien would be
10   having an interest rate of 10, 11, or 12 percent when a lien subordinate to it is going
11   at 4 percent or 5 percent.”
12              96.      With the exception of the application fee, all fees are included in the
13   loan and are subtracted from the disbursement amount at the time of closing.
14              97.      In addition to supplying private capital, Ygrene is also responsible for
15   managing the PACE program district, establishing a budget, and funding program
16   operations.
17              98.      As part of its services, Ygrene provides program design, marketing,
18   administrative duties, origination, application processing, and ongoing reporting
19   services.
20              99.      Marketing the program includes multiple modes of advertisement,
21   including web-based, mail campaigns, television, radio and print ads, and outreach
22   to the building and installation community, including training materials.
23   Additionally, educational seminars are conducted for County residents.
24              100. Most importantly, Ygrene is solely responsible for developing loan
25   documents and disclosures that are provided to consumers.
26               Ygrene’s Deceptive Business Practices Have Damaged Consumers
27              101. Ygrene uses a network of over 3,200 home contractors to drum up
28
     18
          Based on a $35,000.00 principal loan at 20 years.
                                                      21
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 1   business.
 2         102. These contractors act as de facto mortgage brokers and are often the
 3   primary point of contact between Ygrene and its borrowers.
 4         103. Ygrene provides little and inaccurate training to these contractors,
 5   whose primary incentive it is to sign up additional homeowners, collect Ygrene’s
 6   referral fee for doing so, and ultimately charge unusually high costs for the energy-
 7   efficiency improvement work. The result is unregulated lending with unqualified
 8   and self-interested contractors acting as mortgage brokers.
 9         104. These de facto loan agents routinely and systematically misrepresent
10   the characteristics of Ygrene PACE loans, often under Ygrene’s instruction and
11   based on Ygrene’s misinformation.
12         105. Through its deceptive marketing, Ygrene leads consumers to believe
13   that its PACE loans are a government subsidized program that carries no risk if they
14   need to sell their homes or refinance a mortgage.
15         106. Numerous consumers have complained about these sales practices. For
16   example, California consumers who were deceived by Ygrene have taken to the
17   Internet to voice their complaints:
18                - I just found out that i cannot refinance my house
                    because i have one ygrene loan on my property tax.
19
20                - They lied about passing the unpaid balance onto the
                    new owners as no lender will approve a loan with a lien
21
                    of this type on it. The lien would be in first position
22                  over a bank lien. They never disclosed the prepayment
                    penalty fee, escrow fees, payoff figure fee or statement
23
                    fee.
24
                  - They will tell you things like, "the loan will stay with
25                  the home because it goes under the property taxes. And
26                  if you sell the home, the lien just goes to the new
                    homeowner cause it doesn't need to be disclosed."
27                  Wrong, they will find out about the lien once a title
28                  company pulls the records on it. That's a great selling
                    point to get a lot of people. This is how we were
                                           22
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 1                 pitched. Also, we found out through our current loan
                   process you will not be able to refinance your mortgage
 2                 if you are getting a FreddieMac or FannieMae (they
 3                 probably back at least 50% of the nations loans) backed
                   loan without paying off the Ygrene/Pace "Special Tax
 4                 Lien" first. It States, "Thus, in order to refinance your
 5                 home loan, or for a prospective purchaser of your
                   property to obtain a loan secured by the property, you
 6                 MAY need to remove the special tax lien by prepaying
 7                 the special-tax obligation in full." Why even say MAY
                   because it absolutely has to be paid in full. I've talked
 8                 with a lot of brokers and they have assured me of this.
 9                 But they won't tell you this upfront. ABSOLUTELY,
                   NONE OF THIS WAS DISCLOSED UPFRONT.
10
11             - Stay away from this financing! They told us we could
12               refinance our home, but failed to tell us that no
                 mortgage company would touch us after our lien was
13               in place. You have to pay off the lien before you can
14               refinance. Their sales people have no clue what
                 position they put the homeowners in and don't care.
15               This program puts the government in first position on
16               your property and you have no recourse. This is
                 predatory lending at its best, backed by the
17               government. Don't do this, otherwise you are locked
18               into your property with thousands due the city or
                 county every year. Unless you like losing your equity
19               for 20 years and no possible way of refinance for the
20               same duration, then this program is for you. Don't make
                 the same mistake we did. Hold out for a conventional
21               loan; at least you will get better payment options and
22               can sell your house easily that way with no government
                 intervention. Good luck.
23
24             -    They lied about passing the unpaid balance onto the
25                 new owners as no lender will approve a loan with a lien
                   of this type on it. The lien would be in first position
26                 over a bank lien. They never disclosed the prepayment
27                 penalty fee, escrow fees, payoff figure fee or statement
                   fee.
28
                                        23
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 1                       - They also put a lien against your title. Cannot sell the
                           house without paying them off. Their website has
 2                         wrong information on it - They say the loan doesn't stay
 3                         with the house - it has to be paid off when you refi or
                           sell. So much for the loan stays with house BS. Stay
 4                         away from this organization.
 5
                         - Do not use this financing option, or, only use it if you
 6                         know you will not want to move or refinance within the
 7                         time period of your loan. Ygrene LIENS your property
                           (or rather their financial partner Willdan will do it) and
 8                         if you want to sell or refinance, chances are your title
 9                         company will want the liens cleared up before you do
                           anything! So... savings? Not so much. If you try to tell
10                         the Ygrene folks that liens are not the same as Mello
11                         Roos, they argue with you. For me, it basically came
                           down to their rep telling me that it was my title
12                         companies fault for not accepting the liens on the
13                         property. I am so sorry that I went this route and I will
                           tell everyone I know NOT to work with this
14                         company. Oh yeah, forgot to mention that everytime
15                         you sign a contract, they place a lien on the property
                           for the ENTIRE amount your property qualified for,
16                         not just the taxes on the amount you used. They placed
17                         3 liens my house for over $15,000, for 2 projects worth
                           $25,000. A small part of me wonders if this isn't part of
18                         their plan all along!
19
20                       - The roofing company that did the work on our house
                           was good, however Ygrene puts a lien on your home.
21                         We are refinancing our house and the lien is a real
22                         problem - it needs to be paid off in full (fine, we will
                           use some home equity for that). 19
23
24                       - It was too good to be true. We did decide to sell nearly
25                         a year later. That was not supposed to be a problem.
                           Our rep had assured us that this was transferable.
26                         Because the loan was tied to the tax payments, the new
27                         owners would be able to assume that obligation. We
28   19
          http://www.yelp.com/biz/ygrene-energy-fund-santa-rosa; (last accessed on January 31, 2017).

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 1                     were assured it was transferable. From a theoretical
                       standpoint, I'm sure it is. You simply have to get the
 2                     buyers and the buyer's lender to agree to finance the
 3                     house with a lien attached. Here is a problem; no lender
                       will finance a home that has a lien attached. None.
 4                     Zilch. Zip. Nada. Lenders will not fund a mortgage for
 5                     a property that has a lien on it. If you think you might
                       sell or refinance the house before the lien is paid for,
 6                     and you have a Ygrene lien, be prepared to pay off the
 7                     lien as a part of the sales price. Also enjoy the fact that
                       the interest is fully put into the cost of the project and
 8                     you will pay off the principal and FULL interest for the
 9                     entire length of the contract. Fun… 20

10            107. These unlicensed contractors use marketing materials and talking
11   points prepared in a uniform fashion by Ygrene. Ygrene fails to adequately
12   supervise its broad network of contractor-loan officers.
13            108. Astonishingly, Ygrene markets the lack of consumer disclosures as
14   part of its sales pitch to contractors interested in becoming a Ygrene “certified”
15   contractor:
16            15 Minute Approvals         Whether you’re applying online or sitting
                                          onsite with property owner, we can provide
17                                        underwriting    decision    and     finance
                                                                           21
18                                        documents in 15 minutes or less.
19            109. The misrepresentations by the de facto loan agents are furthered by
20   deceptive marketing materials designed and distributed by Ygrene, and by verbal
21   misrepresentations that Ygrene employees make to interested consumers.
22            110. In marketing its loans to consumers, Ygrene emphasizes its
23   “partnership” with local governments, and states that “thanks to a partnership with
24   your local government,” it is able to bring consumers 100% financing for energy
25   improvement projects.
26
27   20
       https://www.yelp.com/biz/ygrene-energy-fund-sacramento; (last accessed on January 31, 2017).
     21
      www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=2&ved=0ahUKEwjk8OvH1aPSAhXL8CYKHR
28   0jDTkQFgg0MAE&url=https%3A%2F%2Fygreneworks.com%2Fwp-content%2Fuploads%2F40004-CA-8-
     15_prf51.pdf&usg=AFQjCNG6WiO-ZMmBy88YrSihwC_TS3E9KQ; (last accessed on February 22, 2017).
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 1              111. In a promotional video, Ygrene makes the following false statements:
 2                   If you sell your property, in some cases, payments may
                     transfer to the new owner. So you only pay for what you
 3                   use.
 4                       It’s as if your house is borrowing the money.22
 5
                112. In other promotional materials, Ygrene states:
 6
 7                       Payments may stay with the property
 8                       If you sell your home, your payments may transfer to the
 9                       new owner, just like your property taxes—so you only pay
                         for improvements while you use them. 23
10
                         *                                   *                                  *
11
12                       If you sell your property, payments may transfer to the
                         new owner, just like your property taxes. (Property
13                       taxes are legally transferable when you sell your
14                       property, however, some mortgage lenders may
                         require full repayment (payoff) of any remaining
15                       PACE special tax/assessment upon sale or
16                       refinance.)24
17              113. Not surprisingly, Ygrene’s own employees make similar
18   misrepresentations when speaking with consumers on the telephone or in person,
19   prior to and during the loan origination process.
20              114. Upon information and belief, and at all times relevant, Ygrene had
21   corporate policies and procedures pursuant to which it instructed its employees,
22   agents, and certified contractors to misrepresent to consumers the true nature of its
23   PACE loans. Pursuant to these policies and procedures, Ygrene instructed its
24   employees, agents, and certified contractors to represent to consumers that its
25   PACE loans are always transferable at the time of sale or refinance.
26
     22
          https://ygreneworks.com/; (last accessed on February 3, 2017); (emphasis supplied).
27
     23
          https://ygreneworks.com/homeowners/; (last accessed on February 5, 2017).
28
     24
          https://ygreneworks.com/faqs/; (last accessed on February 5, 2017).
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 1         115. Under these policies and procedures, Ygrene employees, agents, and
 2   certified contractors routinely responded to consumer inquiries about the impact on
 3   the sale or refinance of a property encumbered by a Ygrene lien by stating that the
 4   lien would have no impact whatsoever.
 5         116. In short, Ygrene engaged and continues to engage in a series of
 6   calculated misrepresentations and omissions, the sole purpose of which is to
 7   deceive and conceal from consumers the true implications and consequences of its
 8   PACE loans, particularly with respect to the sale or refinancing of properties
 9   encumbered by PACE loans.
10         117. Only at the very end of the deception-riddled sales process are
11   consumers presented with written disclosures and Financing Agreements. These
12   disclosures, like Ygrene’s marketing, are also deceptive and omit key information,
13   as discussed infra.
14                         Ygrene’s Deceptive Written Disclosures
15         118. Ygrene’s Unanimous Approval Agreement (“UAA”), used for
16   transactions in California, contains the following language, which further
17   misrepresents the nature of PACE loans by saying only that: (1) “certain” lenders
18   desire to comply with FHFA guidance (when virtually all do); (2) the FHFA
19   “appears to have instructed” lenders not to purchase loans with attached PACE
20   loans (when both the FHFA and other agencies repeatedly stated this fact with
21   certainty); and (3) that “you may” need to pay off the PACE loan if a homeowner
22   wanted to sell or refinance (when a homeowner would definitely need to do so):
23                Many banks that make home loans desire to preserve the
                  option to sell those loans to U.S. government-sponsored
24
                  enterprises (called “GSEs”) that are regulated by the
25                Federal Housing Finance Agency (“FHFA”). The FHFA
                  appears to have instructed its GSEs not to purchase
26
                  residential loans where there is a superior lien for
27                qualifying improvements, such as the special-tax lien.
                  Thus, in order to refinance your residential loan, or for a
28
                  prospective purchaser of your property to obtain a loan
                                           27
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 1                secured by the property, you may need to remove the
                  special-tax lien by prepaying the assessment obligation in
 2                full. You thus should consider the likelihood and timing of
 3                a possible refinancing or sale of your property, and the
                  costs to prepay the special-tax obligation, in deciding
 4                whether to annex your property to the district.
 5   (emphasis added).
 6         119. In sum, Ygrene’s fine print disclosure is at pains to downplay the
 7   possibility that the PACE loan will definitively create an obstacle to sale or
 8   refinance, and is especially misleading in light of the verbal representations made
 9   by Ygrene employees and Ygrene agents. It was deceptive to state that the “FHFA
10   appears to have instructed” and that a PACE loan “may” need to be paid off when
11   Ygrene knew, in reality, that the FHFA’s directive is unequivocal and it was
12   virtually certain the loan would need to be paid off at the time of sale or refinance.
13         120. Further, the disclosure omits any reference to a prepayment penalty.
14   Rather, it indicates that even if an involuntary prepayment is required, consumers
15   will only have to “prepay[] the assessment obligation in full”—but does not
16   disclose that a prepayment penalty and additional administrative and payoff fees
17   will also be assessed.
18         121. Only in a separate section of the UAA, discussing voluntary
19   repayment of the “special tax obligation,” does Ygrene mention the possibility of a
20   prepayment penalty and additional fees—and even then it states only that such a
21   premium “may” be assessed:
22             The owner may prepay the Special Tax obligation at any
               time by paying the then outstanding principal balance as
23             shown on the amortization schedule provide with the Final
24             Closing Statement, plus reasonable administrative costs
               and the current year’s installment of the Special Tax that
25             appears on the property tax bill. The prepayment may also
26             include a prepayment premium based upon a percentage
               of the remaining principal as defined in Exhibit B hereto.
27             The Special Tax obligation may only be repaid in full.
28         122. The two separate disclosures reproduced above indicate to reasonable
                                           28
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 1   consumers that, at most, a prepayment penalty may apply when a homeowner
 2   voluntarily chooses to prepay the loan—but not where he is forced to do so as a
 3   result of a sale or refinancing.
 4         123. In short, Ygrene’s UAA never states that a) a homeowner will almost
 5   certainly be required to pay off the loan as a result of a sale or refinance; and b)
 6   during a sale or refinance the homeowner will also have to pay a prepayment
 7   penalty and additional administrative fees. Indeed, Ygrene’s discussion of lien
 8   satisfaction and the prepayment penalty never appear together in the UAA. That is
 9   by design; Ygrene isolates these terms in order to conceal the central fact of these
10   loans: homeowners will almost certainly have to pay a penalty and additional fees.
11         124. Ygrene’s Agreement to Pay Assessments and Finance Qualifying
12   Improvements (“Financing Agreement”), used in Florida, contains the following
13   language, which, like the UAA, misrepresents the nature of PACE loans by saying
14   only that: (1) “certain” lenders desire to comply with FHFA guidance (when
15   virtually all do); (2) the FHFA “appears to have instructed” lenders not to purchase
16   loans with attached PACE loans (when both the FHFA and other agencies
17   repeatedly stated this fact with certainty); and (3) that “you may” need to pay off
18   the PACE loan if a homeowner wanted to sell or refinance (when a homeowner
19   would definitely need to do so):
20                Many lenders that make residential loans desire to
21                preserve the option to sell those loans to U.S. government-
                  sponsored enterprises (called “GSEs”) that are regulated
22                by the Federal Housing Finance Agency (“FHFA”). The
23                FHFA appears to have instructed its GSEs not to purchase
                  residential loans where there is a superior lien for
24                qualifying improvements, such as the assessment lien.
25                Thus, in order to refinance your residential loan, or for a
                  prospective purchaser of your property to obtain a loan
26                secured by the property, you may need to remove the
27                assessment lien by prepaying the assessment obligation in
                  full. You thus should consider the likelihood and timing of
28                a possible refinancing or sale of your property, and the
                                            29
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 1                   costs to prepay the assessment obligation, in deciding
                     whether to participate in the program by executing this
 2                   agreement. A prepayment premium may be applied on
 3                   assessments that are paid early.

 4            125. As with the California disclosure, the Financing Agreement minimizes
 5   the possibility that the PACE loan will definitively create an obstacle to any sale,
 6   and is especially misleading in light of the verbal representations made by Ygrene
 7   employees and Ygrene agents. It was deceptive to state that the “FHFA appears to
 8   have instructed” and that a PACE loan “may” need to be paid off when Ygrene
 9   knew, in reality, that the FHFA’s directive is unequivocal and it was virtually
10   certain the loan would need to be paid off at the time of sale or refinance.
11            126. Like the UAA, the Financing Agreement, states only that a prepayment
12   premium “may” be assessed:
               The Owner may prepay the Final Assessment obligation at
13
               any time by paying the then outstanding principal balance
14             as shown on the amortization schedule provided with the
               final closing statement, plus reasonable administrative
15
               costs and the current year’s installment of the Assessment
16             that appears on the property tax bill. The prepayment may
               also include a prepayment premium based upon a
17
               percentage of the remaining principal as defined in Exhibit
18             C hereto. The Final Assessment obligation may only be
               prepaid in full.
19
20            127. Before making these disclosures, Ygrene was on notice that the
21   Federal Housing Finance Agency (“FHFA”), on at least three occasions since 2010,
22   “has made clear that…Fannie Mae and Freddie Mac should neither purchase nor
23   refinance mortgages with PACE loans attached.”25
24            128. Ygrene did not fully disclose to Plaintiffs and Class Members that the
25   FHFA had unequivocally instructed GSEs not to purchase loans on PACE-lien
26   encumbered properties.
27
28   25
       http://www.fhfa.gov/Media/PublicAffairs/Pages/Pollard-Statement-before-California-Legislature-Keeping-Up-
     with-PACE.aspx; (last accessed on July 20, 2016).
                                                           30
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 1           129. At all times material hereto, Ygrene knew that Plaintiffs’ and the Class
 2   Members’ PACE loans would almost certainly have to be satisfied before a sale of
 3   the corresponding property or mortgage refinance could occur.
 4           130. In some cases, as part of executing the last-minute Financing
 5   Agreement, Ygrene adds the Pre-Payment Waiver Fee, without explaining to
 6   consumers or providing any written explanation of the fee.
 7           131. Had Plaintiffs and members of the Class known the truth about
 8   Ygrene’s PACE loans and its Waiver Fee, as well as the additional administrative
 9   charges, they would not have entered into these agreements.
10                       Ygrene’s Unreasonable Administrative Fees
11           132. Adding insult to injury, for consumers forced to prepay their PACE
12   loans as a result of a sale or refinance, Ygrene assesses additional unreasonable
13   fees.
14           133. First, Ygrene requires that homeowners pay a $125 “payoff statement
15   fee,” which is not disclosed in the UAA or Financing Agreement.
16           134. Second, it requires that homeowners pay a $75 “administrative fee,”
17   which is not disclosed in the UAA or Financing Agreement.
18           135. Neither of these charges are remotely associated with Ygrene’s actual
19   costs to produce a payoff statement or to “administer” the payoff—and are in
20   addition to the already-excessive prepayment penalty.
21           136. Such charges are not adequately disclosed in the UAA or Financing
22   Agreement as a necessary consequence of selling or refinancing a home
23   encumbered by a Ygrene loan.
24                         Factual Allegations Specific to Plaintiffs
25                                   Lt. Joseph J. Galaska
26           137. Plaintiff, Lt. Joseph J. Galaska, owns his primary residence located in
27   Margate, Florida. Plaintiff obtained a PACE loan through Ygrene on or about
28   January 2016.
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 1          138. Prior to entering into the loan agreement, Plaintiff reviewed and relied
 2   upon Ygrene’s website and promotional materials, all of which similarly
 3   represented that Ygrene liens are transferable with the property in the event of a
 4   sale or refinance.
 5          139. Plaintiff also called Ygrene and spoke with a Ygrene representative.
 6   Consistent with Ygrene’s website and promotional materials, and its corporate
 7   policies and procedures, the Ygrene representative stated that Ygrene liens are
 8   always transferable with the property in the event of a sale or refinance, and that the
 9   lien would have no impact on his ability to refinance or sell his home. Plaintiff
10   relied on these representations in deciding to finance his home improvement project
11   through Ygrene.
12          140. Ygrene required that Plaintiff sign a Financing Agreement, a document
13   created by Ygrene, bearing Ygrene’s name and logo, and containing the following
14   deceptive disclosure:
15                The FHFA appears to have instructed its GSEs not to
                  purchase residential loans where there is a superior lien for
16
                  qualifying improvements, such as the assessment lien.
17                Thus, in order to refinance your residential loan, or for a
                  prospective purchaser of your property to obtain a loan
18
                  secured by the property, you may need to remove the
19                assessment lien by prepaying the assessment obligation in
                  full….A prepayment premium may be applied on
20
                  assessments that are paid early.
21
22          141. Ygrene’s loan documents were sent to Plaintiff electronically and
23   Ygrene did not guide Plaintiff through the documents before they were executed by
24   Plaintiff.
25          142. At no point in time did Ygrene adequately disclose to Plaintiff that he
26   would almost certainly have to prepay the PACE loan should he want to sell or
27   refinance the property. Nor did Ygrene adequately disclose that Plaintiff would
28   have to pay a prepayment penalty and additional administrative fees. To the
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 1   contrary, Ygrene’s representative assured Plaintiff that the lien would not have to be
 2   satisfied in the event of a sale or refinance.
 3         143. On or about January 2016, a Ygrene-certified contractor installed high-
 4   impact doors and windows on Plaintiff’s home.
 5         144. Subsequently, Plaintiff attempted to refinance the home, but was
 6   unable to do so because no lender would provide financing until Plaintiff satisfied
 7   the Ygrene lien on his property, including payment of Ygrene’s prepayment
 8   penalty.
 9         145. Based on Ygrene’s misrepresentations and omissions, Plaintiff
10   understood that the Ygrene loan would not need to be satisfied at the time of sale or
11   refinance.
12         146. In obtaining a PACE loan through Ygrene, Plaintiff relied upon
13   Ygrene’s omissions and deceptive representations to his detriment.
14         147. Had Plaintiff known the truth about Ygrene’s loan, Plaintiff would not
15   have entered into an agreement through Ygrene and would not have agreed to the
16   prepayment penalty or administrative fees.
17                        George W. Woolley and Tammy S. Woolley
18         148. Plaintiffs, George Woolley and Tammy Woolley, are a married couple
19   who own their primary residence in Margate, Florida. Plaintiffs obtained a PACE
20   loan through Ygrene on or about January 2016.
21         149. Prior to signing the loan agreement, Plaintiffs reviewed and relied
22   upon Ygrene’s website and promotional materials, all of which similarly
23   represented that Ygrene’s liens are transferable with the property in the event of a
24   sale or refinance.
25         150. Plaintiffs also called Ygrene and spoke with a Ygrene representative.
26   Consistent with Ygrene’s website and promotional materials, as well as its
27   corporate policies and procedures, the Ygrene representative stated that Ygrene
28   liens are transferable with the property in the event of a sale or refinance, and that
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 1   the lien would have no impact on their ability to sell or refinance the property.
 2   Plaintiffs relied on these representations in deciding to finance their home
 3   improvement through Ygrene.
 4         151. Ygrene required that Plaintiffs sign a Financing Agreement, a
 5   document created by Ygrene, bearing Ygrene’s name and logo, and containing the
 6   following deceptive disclosure:
 7                The FHFA appears to have instructed its GSEs not to
                  purchase residential loans where there is a superior lien for
 8
                  qualifying improvements, such as the assessment lien.
 9                Thus, in order to refinance your residential loan, or for a
                  prospective purchaser of your property to obtain a loan
10
                  secured by the property, you may need to remove the
11                assessment lien by prepaying the assessment obligation in
                  full….A prepayment premium may be applied on
12
                  assessments that are paid early.
13
14         152. The documents were sent to Plaintiffs electronically, and Ygrene did
15   not guide Plaintiffs through the documents before they were executed by Plaintiffs.
16         153. At no point in time did Ygrene adequately disclose to Plaintiffs they
17   would almost certainly have to prepay the PACE loan should they want to sell or
18   refinance the property. Nor did Ygrene adequately disclose that Plaintiffs would
19   have to pay a prepayment penalty and additional administrative fees. To the
20   contrary, Ygrene’s representative assured Plaintiffs that the lien would not have to
21   be satisfied in the event of a sale or refinance.
22         154. On or about February 2016, a Ygrene-certified contractor installed a
23   new roof on Plaintiffs’ home.
24         155. Subsequently, Plaintiffs attempted to refinance their home, but no
25   lender would agree to refinance unless Plaintiffs satisfied the Ygrene lien.
26         156. On or about September 2016, after months of attempting to refinance
27   their home, Plaintiffs were forced to satisfy the Ygrene lien at the closing of their
28   loan refinance, including payment of a prepayment penalty, a payoff statement fee,
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 1   and an administrative fee to Ygrene.
 2         157. Based on Ygrene’s misrepresentations and omissions, Plaintiffs
 3   understood that the Ygrene loan would not need to be satisfied at the time of sale or
 4   refinance.
 5         158. In obtaining a PACE loan through Ygrene, Plaintiffs relied upon
 6   Ygrene’s omissions and deceptive representations to their detriment.
 7         159. Had Plaintiffs known the truth about Ygrene’s loan, Plaintiffs would
 8   not have entered into an agreement through Ygrene, and would not have agreed to
 9   the prepayment penalty or administrative fees.
10                                     Michael G. Pekel
11         160. On or about September 2016, Plaintiff, Michael G. Pekel, purchased a
12   single-family home in Miami-Dade County as an investment property.
13         161. The home needed a new roof, so Plaintiff contacted a roofing
14   contractor.
15         162. The contractor advised Plaintiff of the Ygrene program.
16         163. Plaintiff then reviewed and relied upon Ygrene’s website and
17   promotional materials, all of which similarly represented that Ygrene liens are
18   transferable with the property in the event of a sale or refinance, in deciding to
19   participate in Ygrene’s PACE program.
20         164. Plaintiff also called Ygrene and spoke with a Ygrene representative.
21   Consistent with Ygrene’s website and promotional materials, as well as its policies
22   and procedures, the Ygrene representative stated that Ygrene liens are always
23   transferable with the property in the event of a sale or refinance, and that the lien
24   would have no impact on his ability to sell or refinance the home. Plaintiff relied
25   on these representations in deciding to finance his home improvement through
26   Ygrene.
27         165. Ygrene required that Plaintiff sign a Financing Agreement, a document
28   that was created by Ygrene, bearing Ygrene’s name and logo, and containing the
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 1   following deceptive disclosure:
 2                The FHFA appears to have instructed its GSEs not to
                  purchase residential loans where there is a superior lien for
 3
                  qualifying improvements, such as the assessment lien.
 4                Thus, in order to refinance your residential loan, or for a
                  prospective purchaser of your property to obtain a loan
 5
                  secured by the property, you may need to remove the
 6                assessment lien by prepaying the assessment obligation in
                  full….A prepayment premium may be applied on
 7
                  assessments that are paid early.
 8
 9         166. The documents were sent to Plaintiff electronically, Ygrene did not
10   guide Plaintiff through the documents before they were executed by Plaintiff.
11         167. At no point in time did Ygrene adequately disclose to Plaintiff that he
12   would almost certainly have to satisfy the PACE loan if he wanted to sell or
13   refinance the property. To the contrary, Ygrene’s representative assured Plaintiff
14   that the lien would not have to be satisfied at the time of sale or refinance.
15         168. On or about January 2017, a Ygrene-certified contractor installed a
16   new roof on Plaintiff’s property.
17         169. Subsequently, Plaintiff attempted to sell the home, but was unable to
18   do so because no buyer could obtain financing with the Ygrene lien attached to the
19   property.
20         170. After months of attempting to sell the home, Plaintiff was forced to
21   satisfy the Ygrene lien at closing so that the purchasers’ lender would approve
22   financing.
23         171. On May 9, 2017, Plaintiff closed escrow on the sale of his property.
24   Plaintiff was forced to use a portion of the sales price to satisfy Ygrene’s lien,
25   including various fees paid to Ygrene such as a prepayment penalty fee, payoff
26   statement fee, and administrative fee.
27         172. Based on Ygrene’s misrepresentations and omissions, Plaintiff
28   understood that the Ygrene loan would transfer to subsequent owners of the
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 1   property and would not need to be satisfied at the time of sale or refinance.
 2         173. In obtaining a PACE loan through Ygrene, Plaintiff relied to his
 3   detriment upon Ygrene’s omissions and deceptive representations.
 4         174. Had Plaintiff known the truth about Ygrene’s loan, Plaintiff would not
 5   have entered into an agreement through Ygrene, and would not have agreed to the
 6   prepayment penalty.
 7                         Anthony Look, Jr., and Kimberly Look
 8         175. Plaintiffs, Anthony Look, Jr. and Kimberly Look (“Look Plaintiffs”),
 9   are a married couple who purchased their single-family home in Sacramento
10   County, State of California on or about March 2015.
11         176. Plaintiffs obtained a PACE loan through Ygrene on or about August
12   2015 to finance the installation of a patio cover and concrete pad.
13         177. Prior to entering into the loan agreement, Plaintiffs reviewed and
14   relied upon Ygrene’s website and promotional materials – all of which represented
15   that Ygrene’s loans result in liens that are transferable with the property in the
16   event of a sale or refinance – including, but not limited to, marketing materials that
17   state as follows: “Property taxes are legally transferable upon sale, however,
18   mortgage lenders may require full repayment of the special tax upon sale or
19   refinance.”
20         178. Plaintiffs also emailed and spoke with a Ygrene representative.
21   Consistent with Ygrene’s website and promotional materials, as well as its
22   corporate policies and procedures, the Ygrene representative stated that Ygrene
23   liens are transferable with the property in the event of a sale or refinance, and that
24   the lien would not have any impact on their ability to sell or refinance the property.
25   Plaintiffs relied on these representations in deciding to finance their home
26   improvement through Ygrene.
27         179. Plaintiffs further inquired as to whether any prepayment penalties
28   would apply in the event they wanted to pay the loan prior to the end of its term.
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 1   Plaintiffs were told that a 3% penalty would apply and that financing without such
 2   a penalty would raise their overall interest rate. Relying on assurances that the loan
 3   was transferable with the property and that there would, therefore, not be any need
 4   to satisfy the loan early, Plaintiffs opted to accept the prepayment penalty term on
 5   their Ygrene loan.
 6         180. Ygrene required that Plaintiffs sign a Unanimous Approval
 7   Agreement, a document created by Ygrene, bearing Ygrene’s name and logo, and
 8   containing the following deceptive disclosure:
 9                The FHFA appears to have instructed its GSEs not to
                  purchase residential loans where there is a superior lien for
10
                  qualifying improvements, such as the special-tax lien.
11                Thus, in order to refinance your residential loan, or for a
                  prospective purchaser of your property to obtain a loan
12
                  secured by the property, you may need to remove the
13                special-tax lien by prepaying the assessment obligation in
                  full.
14
15         181. The documents were sent to Plaintiffs electronically, and Ygrene did
16   not guide Plaintiffs through the documents before they were executed by Plaintiffs.
17         182. At no point in time did Ygrene adequately disclose to Plaintiffs that
18   they would almost certainly have to satisfy the PACE loan should they want to sell
19   or refinance their property. To the contrary, Ygrene’s representative assured
20   Plaintiffs that the lien would not have to be satisfied because of a sale or refinance.
21         183. On or about April 2017, Plaintiffs attempted to refinance the mortgage
22   on their home, but they were informed that they needed to pay the PACE loan in
23   order to obtain financing because the Ygrene lien was a superior lien.
24         184. Plaintiffs were forced to satisfy the Ygrene lien, including payment of
25   a prepayment penalty, payoff statement fee, and administrative fee to Ygrene.
26         185. Based on Ygrene’s misrepresentations and omissions, Plaintiffs
27   understood that the Ygrene loan would transfer to subsequent owners of the
28   property, and would not need to be satisfied at the time of sale or refinance.

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 1         186. Had Plaintiffs known the truth about Ygrene’s loan, Plaintiffs would
 2   not have entered into an agreement through Ygrene, and would not have agreed to
 3   the prepayment penalty.
 4                        Grachian L. Smith and Mary Jane Smith
 5         187. Plaintiffs, Grachian L. Smith and Mary Jane Smith, are a married
 6   couple who own their primary residence located in Hollywood, Florida. Plaintiffs
 7   obtained a PACE loan through Ygrene.
 8         188. On or about September 2016, a roofing contractor who was repairing
 9   the roof on Plaintiffs’ home told Plaintiffs that the Ygrene program offered various
10   advantages. The roofing contractor informed Plaintiffs that they would be able to
11   replace the windows on their home with no money down.
12         189. Ultimately, Ygrene referred Plaintiffs to Florida Home Improvement
13   Associates, Inc., a Ygrene “certified” contractor.
14         190. This Ygrene-certified contractor told Plaintiffs that Ygrene’s loans are
15   always transferable at the time of refinance or sale. Plaintiffs relied on these
16   representations in deciding to finance their home improvement through Ygrene.
17         191. Ygrene required that Plaintiffs sign a Financing Agreement, a
18   document created by Ygrene, bearing Ygrene’s name and logo, and containing the
19   following deceptive disclosure:
20                The FHFA appears to have instructed its GSEs not to purchase
                  residential loans where there is a superior lien for qualifying
21
                  improvements, such as the assessment lien. Thus, in order to
22                refinance your residential loan, or for a prospective purchaser of
                  your property to obtain a loan secured by the property, you may
23
                  need to remove the assessment lien by prepaying the assessment
24                obligation in full….A prepayment premium may be applied on
                  assessments that are paid early.
25
26         192. The documents were sent to Plaintiffs electronically, and Ygrene did
27   not guide Plaintiffs through the documents before they were executed by Plaintiffs.
28         193. At no point in time did Ygrene adequately disclose to Plaintiffs that

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 1   they would almost certainly have prepay their PACE loan and pay additional fees
 2   should they wish to refinance or sell their home.
 3           194. Plaintiffs were charged a Pre-Payment Waiver Fee of $221.34 without
 4   explanation. Plaintiffs did not agree to this fee, which should not have been charged
 5   by Ygrene if its representations that the PACE loans transfer with the properties
 6   were true.
 7           195. In obtaining a PACE loan through Ygrene, Plaintiffs relied upon
 8   Ygrene’s omissions and deceptive representations to their detriment.
 9           196. Based on Ygrene’s misrepresentations and omissions, Plaintiffs
10   understood that their Ygrene loan would transfer to subsequent owners of their
11   home.
12           197. Had Plaintiffs known the truth about Ygrene’s loan program, Plaintiffs
13   would not have entered into an agreement through Ygrene, and would not have
14   agreed to payment of the Pre-Payment Waiver Fee.
15                          Alejandro Marcey and Felicia Marcey
16           198. Plaintiffs, Alejandro Marcey and Felicia Marcey, are a married couple
17   who own their primary residence located in Chula Vista, California. Plaintiffs
18   obtained a PACE loan through Ygrene.
19           199. In approximately October 2015, a Ygrene-certified contractor visited
20   Plaintiffs’ home to provide Plaintiffs with an estimate for a roof replacement and
21   new windows, and then told Plaintiffs about various advantages offered by the
22   Ygrene program.
23           200. During this initial consultation, the Ygrene-certified contractor
24   represented to Plaintiffs that Ygrene’s loans are always transferable at the time of
25   refinance or sale. Plaintiffs relied on these representations in deciding to finance
26   their home improvement through Ygrene.
27           201. Prior to entering into the PACE loan, Plaintiffs reviewed Ygrene’s
28   website and marketing materials, which included the following false claim: “If the
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 1   property is sold, the tax assessment moves with the sale to the new owner.”
 2   Plaintiffs also relied on these representations in deciding to finance their home
 3   improvement through Ygrene.
 4         202. Ygrene required that Plaintiffs sign a Unanimous Approval
 5   Agreement, a document created by Ygrene, bearing Ygrene’s name and logo, and
 6   containing the following deceptive disclosure:
 7                The FHFA appears to have instructed its GSEs not to
                  purchase home loans where there is a superior lien for
 8
                  clean-energy improvements, such as the special-tax lien.
 9                Thus, in order to refinance your home loan, or for a
                  prospective purchaser of your property to obtain a loan
10
                  secured by the property, you may need to remove the
11                special-tax lien by prepaying the special-tax obligation in
                  full.
12
13         203. In obtaining a PACE loan through Ygrene, Plaintiffs relied upon
14   Ygrene’s omissions and deceptive representations to their detriment.
15         204. Based on Ygrene’s misrepresentations and omissions, Plaintiffs
16   understood that their Ygrene loan would transfer to subsequent owners of their
17   home—and that they would not have to prepay the loan or incur a prepayment
18   penalty.
19         205. Had Plaintiffs known the truth about Ygrene’s loan, Plaintiffs would
20   not have entered into an agreement through Ygrene.
21         206. Plaintiffs attempted to refinance in April 2016. They were met with the
22   unexpected news that they would not be able to refinance without fully satisfying
23   the loan and paying a prepayment penalty—something they could not afford to do.
24         207. After speaking with several lenders, they were forced to accept an
25   FHA loan with unfavorable terms, on the condition that they take out extra
26   mortgage insurance. Plaintiffs did so, at an out-of-pocket cost of $267/month.
27                          CLASS ACTION ALLEGATIONS
28         208. Plaintiffs bring this case as a class action pursuant to Fed. R. Civ. P.
                                           41
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 1   23 on behalf of themselves and all others similarly situated.
 2         209. Plaintiffs bring this case on behalf of the following Classes under Fed.
 3   R. Civ. P. 23(b)(2):
 4                          Nationwide Prepayment Penalty Class
 5
                  All persons within the United States who, within the
 6                four (4) years prior to the filing of this action, entered
 7                into a PACE financing loan agreement originated
                  and/or facilitated by Ygrene in connection with their
 8                primary residence, where the loan contained a
 9                provision for a prepayment penalty.
10                          California Prepayment Penalty Subclass
11
                  All persons within the State of California who, within
12                the four (4) years prior to the filing of this action,
13                entered into a PACE financing loan agreement
                  originated and/or facilitated by Ygrene in connection
14                with their primary residence, where the loan contained
15                a provision for a prepayment penalty.
16                           Florida Prepayment Penalty Subclass
17
                  All persons within the State of Florida who, within the
18                four (4) years prior to the filing of this action, entered
19                into a PACE financing loan agreement originated
                  and/or facilitated by Ygrene in connection with their
20                primary residence, where the loan contained a
21                provision for a prepayment penalty.
22              Nationwide Prepayment Waiver Fee Class—Not Yet Paid
23
                  All persons within the United States who, within the
24                four (4) years prior to the filing of this Complaint,
25                entered into a PACE financing loan agreement
                  originated and/or facilitated by Ygrene in connection
26                with their primary residence, where the loan contained
27                a provision for a prepayment penalty and/or where
                  Ygrene assessed a Prepayment Waiver Fee.
28
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 1          California Prepayment Waiver Fee Subclass—Not Yet Paid

 2             All persons within the State of California who, within
 3             the four (4) years prior to the filing of this action,
               entered into a PACE financing loan agreement
 4             originated and/or facilitated by Ygrene in connection
 5             with their primary residence, where the loan contained
               a provision for a prepayment penalty and/or where
 6             Ygrene assessed a Prepayment Waiver Fee.
 7
              Florida Prepayment Waiver Fee Subclass—Not Yet Paid
 8
 9             All persons within the State of Florida who, within the
               four (4) years prior to the filing of this action, entered
10             into a PACE financing loan agreement originated
11             and/or facilitated by Ygrene in connection with their
               primary residence, where the loan contained a
12             provision for a prepayment penalty and/or where
13             Ygrene assessed a Prepayment Waiver Fee.

14
         210. Plaintiffs bring this case on behalf of the following Classes under Fed.
15
               R. Civ. P. 23(b)(3):
16
                    Nationwide Prepayment Penalty Class—Paid
17
18             All persons within the United States who, within the
               four (4) years prior to the filing of this action, entered
19             into a PACE financing loan agreement originated
20             and/or facilitated by Ygrene in connection with their
               primary residence, and who paid a prepayment
21             penalty.
22
                   California Prepayment Penalty Subclass—Paid
23
24             All persons within the State of California who, within
               the four (4) years prior to the filing of this action,
25             entered into a PACE financing loan agreement
26             originated and/or facilitated by Ygrene in connection
               with their primary residence, and who paid a
27
               prepayment penalty.
28
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 1                     Florida Prepayment Penalty Subclass—Paid

 2                All persons within the State of Florida who, within the
 3                four (4) years prior to the filing of this action, entered
                  into a PACE financing loan agreement originated
 4                and/or facilitated by Ygrene in connection with their
 5                primary residence, and who paid a prepayment
                  penalty.
 6
 7                   Nationwide Payoff and Administrative Fee Class

 8                All persons within the United States who, within the
 9                four (4) years prior to the filing of this action, entered
                  into a PACE financing loan agreement originated
10                and/or facilitated by Ygrene in connection with their
11                primary residence, and who paid an administrative fee
                  and/or payoff statement fee.
12
13                 California Payoff and Administrative Fee Subclass

14                All persons within the State of California who, within
15                the four (4) years prior to the filing of this action,
                  entered into a PACE financing loan agreement
16                originated and/or facilitated by Ygrene in connection
17                with their primary residence, and who paid an
                  administrative fee and/or payoff statement fee.
18
19                   Florida Payoff and Administrative Fee Subclass
20                All persons within the State of Florida who, within the
21                four (4) years prior to the filing of this action, entered
                  into a PACE financing loan agreement originated
22                and/or facilitated by Ygrene in connection with their
23                primary residence, and who paid an administrative fee
                  and/or payoff statement fee.
24
25         211. Excluded from the Classes are Defendants, their affiliates, personnel,
26   agents and members of the Judiciary. Plaintiffs reserve the right to amend the class
27   definition upon completion of class certification discovery.
28         212. Numerosity: Plaintiffs are informed and believe, and upon such
                                          44
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 1   information and belief aver, that the number of persons in the Classes are so
 2   numerous that joinder of all members is impracticable. Plaintiffs are informed and
 3   believe, and upon such information and belief avers, that the number of class
 4   members is in the thousands. The exact number and identities of the Class
 5   members are unknown at this time and can only be ascertained through discovery.
 6         213. Commonality: There are numerous questions of law and fact
 7   common to the Classes which predominate over any questions affecting only
 8   individual members. The common questions in this case are capable of having
 9   common answers. If Plaintiffs’ claims regarding Defendants’ conduct is accurate,
10   Plaintiffs and the Class members will have identical claims capable of being
11   efficiently adjudicated and administered in this case. Among the questions of law
12   and fact common to the Classes are:
13            a. Whether Defendants engaged in unlawful, unfair and/or fraudulent
                 business acts or practices likely to deceive Plaintiffs and Class
14
                 Members;
15
              b. Whether Defendants intentionally concealed, omitted and/or otherwise
16               failed to disclose material information to Plaintiffs and Class Members;
17
18            c. Whether Defendants failed to disclose to Plaintiffs and Class Members
                 that they would be unable to refinance or sell their homes without first
19               satisfying their PACE loans and incurring a pre-payment penalty, and
20               payoff and administrative fees;

21
              d. Whether Defendants failed to disclose to Plaintiffs and Class Members
22               that they would be charged an unnecessary Pre-Payment Waiver Fee;
23
24            e. Whether Defendants had a duty to disclose the undisclosed material
                 facts to Plaintiffs and Class Members;
25
26            f. Whether Plaintiffs and Class Members have sustained damages as a
27               result of the conduct alleged herein and, if so, what is the proper
                 measure of such damages; and
28
                                          45
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 1               g. Whether Plaintiffs and Class Members are entitled to injunctive and
                    other equitable relief.
 2
 3            214. Typicality: Plaintiffs’ claims are typical of the claims of the Class
 4   members, as they are all based on the same factual and legal theories, and similar
 5   loan documents and disclosures.
 6            215. Adequacy: Plaintiffs are representatives that will fully and adequately
 7   assert and protect the interests of the Classes, and have retained competent counsel.
 8   Accordingly, Plaintiffs are adequate representatives and will fairly and adequately
 9   protect the interests of the Classes.
10            216. Predominance and Superiority: A class action is superior to all
11   other available methods for the fair and efficient adjudication of this lawsuit,
12   because individual litigation of the claims of all members of the Classes is
13   economically unfeasible and procedurally impracticable. While the aggregate
14   damages sustained by Class Members are in the millions of dollars, the individual
15   damages incurred by each member resulting from Defendants’ wrongful conduct
16   are too small to warrant the expense of individual lawsuits. The likelihood of
17   individual Class Members prosecuting their own separate claims is remote, and,
18   even if every member of the Class could afford individual litigation, the court
19   system would be unduly burdened by individual litigation of such cases. The
20   prosecution of separate actions by Class Members would create a risk of
21   establishing inconsistent rulings and/or incompatible standards of conduct for
22   Defendants. For example, one court might enjoin Defendants from performing the
23   challenged acts, whereas another may not. Additionally, individual actions may be
24   dispositive of the interests of the Classes, although certain class members are not
25   parties to such actions.
26   //
27   //
28   //

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 1                          FIRST CAUSE OF ACTION
     VIOLATION OF THE “UNFAIR” PRONG OF CAL. BUS. & PROF. CODE
 2         § 17200, et seq. AGAINST YGRENE ENERGY FUND, INC
 3                              (California Subclass)

 4         217. Plaintiffs incorporate and reallege by reference each and every
 5   allegation contained in paragraphs 1-216 as if fully set forth herein.
 6         218. California’s Business & Professions Code § 17200, et seq. (the
 7   “UCL”), defines unfair business competition to include any “unlawful, unfair or
 8   fraudulent” act or practice, as well as any “unfair, deceptive, untrue or misleading”
 9   advertising. Cal. Bus. & Pro. Code § 17200.
10         219. A business act or practice is “unfair” under the UCL if the reasons,
11   justifications and motives of the alleged wrongdoer are outweighed by the gravity
12   of the harm to the alleged victims.
13         220. Defendant violated the “unfair” prong of the UCL through its
14   affirmative misrepresentations, omissions, and practices described herein.
15         221. The gravity of the harm to Plaintiffs and Class Members resulting from
16   these unfair acts and practices outweighed any conceivable reasons, justifications
17   and/or motives of Defendant for engaging in such deceptive acts and practices. By
18   committing the acts and practices alleged above, Defendant engaged in unfair
19   business practices within the meaning of California Business & Professions Code §
20   17200, et seq.
21         222. Through its unfair acts and practices, Defendant has improperly
22   obtained money from Plaintiffs and Class Members. As such, Plaintiffs request that
23   this Court cause Defendant to restore this money to Plaintiffs and all Class Members,
24   and to enjoin Defendant from continuing to violate the UCL as discussed herein
25   and/or from violating the UCL in the future. Otherwise, Plaintiffs and Class
26   Members may be irreparably harmed and/or denied an effective and complete
27   remedy if such an order is not granted.
28         223. Plaintiffs and Class Members demand the applicable relief set forth in

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 1   the Prayer for Relief below.
 2
 3                      SECOND CAUSE OF ACTION
     VIOLATION OF THE “FRAUDULENT” PRONG OF CAL. BUS. & PROF.
 4      CODE § 17200, et seq. AGAINST YGRENE ENERGY FUND, INC
 5                             (California Subclass)

 6         224. Plaintiffs incorporate and reallege by reference each and every
 7   allegation contained in paragraphs 1-216 as if fully set forth herein.
 8         225. The UCL defines unfair business competition to include any “unlawful,
 9   unfair or fraudulent” act or practice, as well as any “unfair, deceptive, untrue or
10   misleading” advertising. Cal. Bus. & Pro. Code § 17200.
11         226. A business act or practice is “fraudulent” under the UCL if it is likely
12   to deceive members of the consuming public.
13         227. Defendant’s representations and omissions as described herein were
14   fraudulent within the meaning of the UCL because they deceived Plaintiffs, and were
15   likely to deceive Class Members.
16         228. Defendant’s acts and practices as described herein have deceived
17   Plaintiffs and were highly likely to deceive members of the consuming public.
18         229. As a result of the conduct described above, Defendant has been unjustly
19   enriched at the expense of Plaintiffs and Class Members. Specifically, Defendant
20   has been unjustly enriched by obtaining revenue and profits that it would not
21   otherwise have obtained absent its false, misleading and deceptive conduct.
22         230. Through its unfair acts and practices, Defendant has improperly
23   obtained money from Plaintiffs and Class Members. As such, Plaintiffs request that
24   this court cause Defendant to restore this money to Plaintiffs and all Class Members,
25   and to enjoin Defendant from continuing to violate the UCL as discussed herein
26   and/or from violating the UCL in the future. Otherwise, Plaintiffs and Class
27   Members may be irreparably harmed and/or denied an effective and complete
28   remedy if such an order is not granted.

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 1         231. Plaintiffs and Class Members demand the applicable relief set forth in
 2   the Prayer for Relief below.
 3
                      THIRD CAUSE OF ACTION
 4    VIOLATION OF THE CONSUMER LEGAL REMEDIES ACT AGAINST
 5                   YGRENE ENERGY FUND, INC.
                          (California Subclass)
 6
 7         232. Plaintiffs incorporate and reallege by reference each and every
 8   allegation contained in paragraphs 1-216 as if fully set forth herein.
 9         233. Plaintiffs and Class Members are “consumers” within the meaning of
10   California Civil Code §§ 1761(d) and 1770.
11         234. Defendant’s provision of PACE financing were “transactions” within
12   the meaning of Cal. Civ. Code § 1761(e).
13         235. As described herein, Defendant violated the CLRA by making
14   deceptive representations in connection with the PACE loans in question
15   (1770(a)(5)); by representing that its PACE loans have characteristics which they do
16   not have (1770)(a)(5) and (14)); and by inserting unconscionable provisions in its
17   contracts (1770)(a)(19).
18         236. Plaintiffs relied on Defendant’s false representations.
19         237. Counsel for Plaintiffs will provide proper notice of their intent to pursue
20   claims under the CLRA and an opportunity to cure to Defendant via certified mail.
21         238. Plaintiffs request this Court enjoin Defendant from continuing to
22   violate the CLRA as discussed herein and/or from violating the UCL in the future
23   and to order restitution to Plaintiffs and Class Members. Otherwise, Plaintiffs, Class
24   Members, and members of the general public may be irreparably harmed and/or
25   denied effective and complete remedy if such an order is not granted.
26         239. If Defendant declines to address the CLRA violations and associated
27   harm Plaintiffs outline in their notice letter within thirty (30) days, Plaintiffs will
28   amend their Complaint pursuant to Cal. Civ. Code §§ 1782(b) and (d) to seek actual

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 1   and punitive damages, in addition to restitution, injunctive relief, and any other relief
 2   the Court deems proper.
 3         240. Plaintiffs and Class Members demand the applicable relief set forth in
 4   the Prayer for Relief below.
 5
                      FOURTH CAUSE OF ACTION
 6      VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE
 7                         PRACTICES ACT
                            (Florida Subclass)
 8
 9         241. Plaintiffs incorporate and reallege by reference each and every
10   allegation contained in paragraphs 1-216 as if fully set forth herein.
11         242. Plaintiffs assert this cause of action on behalf of themselves and Class
12   Members.
13         243. Plaintiffs and Class Members are “consumers” as defined by Florida
14   Statute § 501.203(7), and the subject PACE loan transactions are “trade or
15   commerce” as defined by Florida Statute §501.203(8).
16         244. FDUTPA was enacted to protect the consuming public and legitimate
17   business enterprises from those who engage in unfair methods of competition, or
18   unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or
19   commerce.
20         245. Defendants violated and continue to violate FDUTPA by engaging in
21   the unconscionable, deceptive, unfair acts or practices described herein and
22   proscribed by Florida Statute §501.201, et seq. Defendants’ affirmative
23   misrepresentations, omissions, and practices described herein were likely to, and did
24   in fact, deceive and mislead members of the public, including consumers acting
25   reasonably under the circumstances, to their detriment.
26         246. Defendants’ actions constitute unconscionable, deceptive, or unfair acts
27   or practices because, as alleged herein, Defendants engaged in deceptive conduct by
28   misrepresenting and omitting material facts regarding its PACE loans, thereby
                                            50
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 1   offending an established public policy, and engaging in immoral, unethical,
 2   oppressive, and unscrupulous activities that are substantially injurious to consumers.
 3         247. Defendants violated FDUTPA by engaging in unfair and deceptive
 4   practices, which offend public policies and are immoral, unethical, unscrupulous and
 5   substantially injurious to consumers.
 6         248. Defendants’ marketing and written disclosures with respect to its PACE
 7   loans are inherently deceptive and unfair and are, therefore, a practice that is in
 8   violation of FDUTPA.
 9         249. As a direct and proximate result of Defendants’ deceptive practices,
10   Plaintiffs and Members of the Class participated in Ygrene’s loan programs, and
11   they would not have done so had they known the truth about Ygrene’s PACE loans.
12         250. FDUTPA specifically provides for injunctive relief relating to alleged
13   unfair and deceptive trade practices. Without an injunction preventing Defendants
14   from continuing to mislead consumers, Plaintiffs and Class Members will continue
15   to suffer damages.
16         251. Pursuant to Florida Statute § 501.211(1), Plaintiffs seek a declaration
17   that Defendants’ deceptive conduct has violated and continues to violate FDUTPA,
18   and seek injunctive relief regarding Defendants’ past and continuing deceptive
19   conduct. Plaintiffs reserve the right to allege other violations of FDUTPA as
20   Defendants’ conduct is ongoing.
21         252. In addition, pursuant to Florida Statutes §501.211, Plaintiffs and Class
22   Members seek equitable relief and to enjoin Defendants on terms that the Court
23   considers reasonable. Plaintiffs also seek reasonable attorneys’ fees and costs, as
24   well as statutory damages as prescribed by §§ 501.211(2) and 501.2075.
25         253. Plaintiffs and Class Members demand the applicable relief set forth in
26   the Prayer for Relief below.
27
28
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 1                         FIFTH CAUSE OF ACTION
 2                  TORTIOUS INTERFERENCE WITH CONTRACT
                                (Nationwide Class)
 3
 4          254. Plaintiffs incorporate and reallege by reference each and every
 5   allegation contained in paragraphs 1-216 as if fully set forth herein.
 6          255. Plaintiffs entered into PACE loan agreements with various special
 7   districts as alleged herein.
 8          256. At all times, Defendants were aware of the existence of these PACE
 9   loan agreements between, on the one hand, Plaintiffs and the class members and, on
10   the other, the special districts.
11          257. Defendants tortiously interfered with these contractual relationships
12   and prevented Plaintiffs and the class members from obtaining the full benefits of
13   their contractual relationship with the special districts.
14          258. The UAA and Financing Agreements nowhere authorize Defendants to
15   charge excessive and unreasonable administrative fees and prepayment penalties.
16          259. Defendants imposed unreasonable penalties and fees on Plaintiffs and
17   members of the class.
18          260. Therefore, Defendants tortiously interfered with the performance of
19   Plaintiffs’ and the class members PACE loan agreements.
20          261. Defendants’ tortious interference has resulted in an actual breach of
21   Plaintiffs’ and the class members’ contracts because Plaintiffs and the class members
22   have been assessed fees and penalties not authorized by the UAA and Financing
23   Agreements.
24          262. As a direct, proximate, and foreseeable result of Defendants’ tortious
25   interference with Plaintiffs and the class members’ contracts, Plaintiffs and the class
26   members have been legally injured and sustained damages by not receiving the full
27   benefit of their contractual bargain.
28          263. Plaintiffs and the class members have performed all, or substantially

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 1   all, of the obligations imposed on them under the UAA and Financing Agreements.
 2         264. As a direct result of Defendant’s breaches, Plaintiffs and members of
 3   the Class have sustained economic losses and are entitled to compensatory damages
 4   in an amount to be proven at trial.
 5
                               SIXTH CAUSE OF ACTION
 6                            FRAUDULENT INDUCEMENT
 7                                 (Nationwide Class)

 8         265. Plaintiffs incorporate and reallege by reference each and every
 9   allegation contained in paragraphs 1-216 as if fully set forth herein.
10         266. Defendants had a duty to make full and adequate disclosures to
11   Plaintiffs and Class Members regarding the nature of its loans, as well as all
12   associated penalties and fees.
13         267. Defendants made materially false statements and omissions regarding
14   its PACE loans to Plaintiffs and Class Members.
15         268. These facts constitute material information that Plaintiffs and the Class
16   Members would have deemed material when deciding whether to purchase the loan
17   products at issue.
18         269. In situations where Defendants made some disclosures, Defendants
19   made only partial representations while suppressing material facts, as alleged herein.
20         270. Defendants’ concealment, omissions, and partial representations
21   occurred prior to the consummation of the loan transactions with Plaintiffs and the
22   Class Members and are continued in the terms of the loan documents.
23         271. Had Defendants disclosed this information, Plaintiffs and the Class
24   Members would not have agreed to the subject PACE loans on these terms.
25         272. At all relevant times, Defendants actively concealed and suppressed
26   these material facts from Plaintiffs and Class Members. Defendants had superior
27   knowledge of the concealed facts.
28
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 1            273. Defendants had knowledge that their materially false statements and
 2   omissions regarding its PACE loans were false when made.
 3            274. In making materially false statements and omissions regarding the
 4   PACE loans, it was Defendants’ intention to induce Plaintiffs and Class Members to
 5   rely on the materially false statements and omissions to enter into the subject PACE
 6   loans.
 7            275. In entering into the subject PACE loans, Plaintiffs and Class Members
 8   reasonably relied and acted upon the materially false statements and omissions made
 9   by Defendants.
10            276. Plaintiffs and Class Members have suffered damages as a result of their
11   reasonable reliance upon Defendants’ materially false statements and omissions set
12   forth above.
13            277. As a direct and proximate result of Defendants’ intentional omissions
14   and misrepresentations of material fact, as alleged herein, Plaintiffs and Class
15   Members have suffered damages.
16            278. Plaintiffs and Class Members demand the applicable relief set forth in
17   the Prayer for Relief below.
18
19                           SEVENTH CAUSE OF ACTION
                           NEGLIGENT MISREPRESENTATION
20                                (Nationwide Class)
21            279. Plaintiffs incorporate and reallege by reference each and every
22   allegation contained in paragraphs 1-216 as if fully set forth herein.
23            280. Defendants had a duty to Plaintiffs and Class Members to fully disclose
24   the true nature of its loan products, as well as all associated penalties and fees.
25            281. Defendants breached their duty and were negligent to Plaintiffs and
26   Class Members by failing to clearly and adequately advise Plaintiffs and Class
27   Members of all material information regarding its loan products.
28
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 1         282. Defendants knew or should have known that its wrongful acts and
 2   omissions would cause damages to Plaintiffs and Class Members
 3         283. Defendants’ conduct has directly and proximately caused damage to
 4   Plaintiff and Class Members.
 5         284. Plaintiffs and Class Members demand the applicable relief set forth in
 6   the Prayer for Relief below.
 7
 8                            EIGHTH CAUSE OF ACTION
                                UNJUST ENRICHMENT
 9                                 (Nationwide Class)
10         285. Plaintiffs incorporate and reallege by reference each and every
11   allegation contained in paragraphs 1-216 as if fully set forth herein.
12         286. Plaintiffs and Class Members conferred a benefit upon Defendants in
13   the form of various origination and closing fees, prepayment fees, administrative
14   fees, and other fees and payments.
15         287. Defendants had knowledge of the benefits conferred upon them by
16   Plaintiffs and Class Members.
17         288. Defendants voluntarily accepted and retained the benefits conferred
18   upon them by Plaintiffs and Class Members.
19         289. Under the circumstances, it would be inequitable for Defendants to
20   retain the benefit conferred upon them by Plaintiffs and Class Members.
21         290. Defendants have been unjustly enriched and are required to refund
22   Plaintiffs and Class Members the benefits they conferred upon Defendants.
23         291. Plaintiffs and Class Members demand the applicable relief set forth in
24   the Prayer for Relief below.
25
26                             NINTH CAUSE OF ACTION
                                    NEGLIGENCE
27                                 (Nationwide Class)
28         292. Plaintiffs incorporate and reallege by reference each and every
                                           55
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 1   allegation contained in paragraphs 1-216 as if fully set forth herein.
 2         293. Defendants had a duty to fully disclose to Plaintiffs and Class Members
 3   the true nature of its loan products, as well as all associated penalties and fees.
 4         294. Defendants breached their duty by failing to provide adequate
 5   disclosures to Plaintiffs and Class Members.
 6         295. Defendants knew or should have known that their wrongful acts and
 7   omissions would cause damage to Plaintiffs and Class Members.
 8         296. Defendants’ conduct has directly and proximately caused damages to
 9   Plaintiffs and Class Members.
10         297. Plaintiffs and Class Members demand the applicable relief set forth in
11   the Prayer for Relief below.
12
13                                  PRAYER FOR RELIEF
14         WHEREFORE, Plaintiffs and the Class respectfully request the following
15   and pray for judgment as follows:
16       1.         For a declaration that this lawsuit may properly be maintained as a
17   class action and certifying the Class claims herein;
18       2.         Award Plaintiffs and Class Members injunctive relief in the form of a
19   promise not to charge prepayment penalties; a promise not to charge unauthorized
20   administrative fees; and that Ygrene adopt the practice of providing adequate
21   disclosures.
22       3.         Award Plaintiffs and Class Members damages flowing from the
23   requested injunction;
24       4.         Appoint the undersigned as Class Counsel;
25       5.         Appoint Plaintiffs as Representatives of the Class;
26       6.         Award other declaratory and injunctive relief as permitted by law;
27       7.         Award reasonable attorneys’ fees, filing fees, expert fees, and costs of
28   suit to counsel based upon the benefit received by Plaintiffs and Class;
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 1        8.       Award Plaintiffs and Class Members actual damages;
 2        9.       Award Plaintiffs and Class Members attorneys’ fees and all litigation
 3   costs; and
 4      10.        Award Plaintiffs and Class Members any further relief that the Court
 5   deems just and proper.
 6
 7                                DEMAND FOR JURY TRIAL
 8          Plaintiffs, on behalf of themselves and the Class, hereby demand a jury trial
 9   for all issues so triable.
10
11   Dated: May 16, 2017
12                                 KASDAN LIPPSMITH WEBER TURNER LLP
13
14                                 By:       /s/ Graham B. LippSmith
                                             GRAHAM B. LIPPSMITH
15                                           JACLYN L. ANDERSON
16
                                             TYCKO &ZAVAREEI LLP
17                                           JEFFREY D. KALIEL
18
                                             HIRALDO P.A.
19                                           MANUEL S. HIRALDO
20
                                             Attorneys for Plaintiffs
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 1                              CERTIFICATE OF SERVICE
 2         I hereby certify that on May 16, 2017, I electronically filed the AMENDED
 3   COMPLAINT FOR DAMAGES with the Clerk of the Court, using the CM/ECF
 4   system, which will send notification of such filing to the counsel of record in this
 5   matter who are registered on the CM/ECF system to receive service.
 6
 7                                             /s/ Graham B. LippSmith
                                               Graham B. LippSmith
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                              AMENDED COMPLAINT FOR DAMAGES
